                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
              Plaintiff,                          )
                                                  )
       vs.                                        )      Case No. 11-3021-02-CR-S-RED
                                                  )
CHRISTOPHER M. HOLMES,                            )
                                                  )
              Defendant.                          )

                                          ORDER

       Before the Court are Defendant Christopher M. Holmes’ Motion to Suppress Statements

(Doc. 261), the Report and Recommendation of United States Magistrate Judge (Doc. 306), and

Defendant’s Objections to Magistrate Judge’s Findings and Recommendations Denying Defendant’s

Motion to Suppress Statements (Doc. 339). After careful and independent review of the parties’

submissions, this Court agrees with and ADOPTS the Report and Recommendation of United States

Magistrate Judge (Doc. 306). As such, Defendant’s Motion to Suppress is DENIED (Doc. 261) and

his objections to the Report and Recommendation are OVERRULED (Doc. 35). Defendant’s

Motion for Leave to file Motion Out of Time (Doc. 260) is DENIED AS MOOT.

       IT IS SO ORDERED.

DATED:        April 19, 2012                    /s/ Richard E. Dorr
                                           RICHARD E. DORR, JUDGE
                                           UNITED STATES DISTRICT COURT




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